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06
                              UNITED STATES DISTRICT COURT
07                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
08

09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )            Case No. CR09-06 JLR
                                          )
11         v.                             )
                                          )
12   EDDIE V. CHANEY,                     )            DETENTION ORDER
                                          )
13               Defendant.               )
     ____________________________________ )
14

15 Offenses charged:

16
            Conspiracy to Distribute Marijuana, in violation of 21 U.S.C. §§ 841(a)(1),
17          841(b)(1)(A), and 846

18 Date of Detention Hearing:      February 23, 2009

19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

20 based upon the factual findings and statement of reasons for detention hereafter set forth,

21 finds:

22          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          (1)     Defendant has stipulated to detention due to being detained in CR09-39-RAJ,

24 but reserves the right to contest his continued detention if there is a change in circumstances.

25          (2)     There are no conditions or combination of conditions other than detention that

26 will reasonably assure the appearance of defendant as required.


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01          IT IS THEREFORE ORDERED:

02          (1)     Defendant shall be detained pending trial and committed to the custody of the

03 Attorney General for confinement in a correctional facility separate, to the extent practicable,

04 from persons awaiting or serving sentences or being held in custody pending appeal;

05          (2)     Defendant shall be afforded reasonable opportunity for private consultation

06 with counsel;

07          (3)     On order of a court of the United States or on request of an attorney for the

08 government, the person in charge of the corrections facility in which defendant is confined

09 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

10 connection with a court proceeding; and

11          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

12 counsel for the defendant, to the United States Marshal, and to the United States Pretrial

13 Services Officer.

14                  DATED this 23rd day of February, 2009.

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                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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